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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                               NO. 4:04-CR-00169-19-WRW

KEITH HOLMES

                                            ORDER

       Pending is Defendant’s request to modify his conditions of release.

       For good cause shown and because the Prosecution does not object, the request is

GRANTED. Accordingly, Defendant’s conditions of release are modified from home detention

to curfew from 8 p.m. to 8 a.m., with electronic monitoring. All other conditions of release

remain.

          IT IS SO ORDERED this 12th day of April, 2006.


                                                          /s/ Wm. R.Wilson,Jr.
                                                     UNITED STATES DISTRICT JUDGE




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